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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 CINDY LANDEEN,                             )
      Petitioner/Counterclaim Defendant,    )
                                            )
       vs.                                  )              1:04-cv-1815-LJM-WTL
                                            )
 PHONEBILLIT, INC. and                      )
 MIRROR MEDIA COMPANY,                      )
       Respondents/Counterclaim Defendants, )
 _______________________________________)
 STEVEN V. SANN,                            )
       Respondent/Intervenor/Counterclaim   )
       Plaintiff,                           )
                                            )
       vs.                                  )
                                            )
 NEIL LUCAS,                                )
       Respondent/Intervenor/               )
       Counterclaim Defendant.              )

                                             ORDER

        This cause is now before the Court on respondent/intervenor/counterclaim plaintiff’s, Steven

 V. Sann (“Sann”), Objections (Docket Nos. 292 & 303) to Receiver’s, Riley Bennett & Egloff by

 its partner, J. Mark McKinzie (the “Receiver”), Report in Partial Settlement of Receivership

 Proceedings Pursuant to Indiana Code Chapter 32-30-5-14 (Docket No. 279). In its report, the

 Receiver reconciled several outstanding issues related to monies owed by or to Sann. Specifically,

 the Receiver stated that Sann’s company, Voice Mail Services, Ltd. (“VMS”), owed the Receivership

 Estate $102,495.15 pursuant to an Asset Purchase Agreement entered into on August 22, 2005; that

 the Receiver would not pay for Sann’s claimed expenses because they were without legitimate

 documentation; that the Receiver would not pay Sann’s Montana Wage Claim; and that, based on

 the records of respondent, PhoneBILLit, Inc. (“PBI”), the Receiver had determined that Sann had
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 received $75,000.00 in loans from PBI and that the best way to treat that loan from PBI’s standpoint

 was to convert the amount to compensation for the 2006 tax year. In a timely manner, Sann

 generally objected to each and every one of these determinations. Petitioner/counterclaim defendant,

 Cindy Landeen (“Landeen”), and respondent/intervenor/counterclaim defendant, Neil Lucas

 (“Lucas”), also filed objections.

        Because of the nature of Sann’s objections, and upon the recommendation of a successor

 receiver, Debra McVicker Lynch (the “Successor Receiver”), the Court separated Sann’s objections

 and held a hearing on said objections on September 28, 2007, and November 27, 2007. At the

 hearing, the Successor Receiver presented her findings with respect to the Receiver’s Report in

 Partial Settlement. Sann also presented evidence to support his objections. The Successor Receiver

 and Sann submitted proposed findings of fact and conclusions of law on Friday, November 30, 2007.

 The Court rules as follows.



                                 I. FACTUAL BACKGROUND1

                                 A. THE BASIS OF THIS SUIT

        This lawsuit was filed on September 30, 2004, in state court by Landeen as a petition for

 involuntary dissolution and request for appointment of a guardian for PBI, and a related company

 owned by Landeen, Sann and Lucas, Mirror Media Company (PBI and Mirror Media, collectively,


        1
          The following is intended to serve as the Court findings of fact. To the extent any
 finding of fact is a mixed finding of fact or conclusion of law, the Court intends for those
 statements to be both a finding of fact and a conclusion of law. To the extent that some
 background facts may be necessary to ensure a complete understanding of the Court’s
 conclusions of law but may have bearing on other issues pending between the parties in this or
 related law suits, the Court intends for those background facts to be relevant only to the issues
 resolved herein.

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 the “companies”). Notice of Removal, Ex. A, at Pet. for Involuntary Dissolution (“Landeen

 Petition”). On November 30, 2004, the companies timely removed the action to this Court. Id. In

 her initial Petition, Landeen claimed that PBI had not adopted by-laws; that it was infeasible to elect

 directors, due to irreconcilable differences between shareholders; and that the shareholders, as de

 facto directors, were deadlocked in the management of PBI’s affairs, to PBI’s detriment. Landeen

 Petition ¶¶ 8-9.

        It is undisputed that in late April 2005 PBI stopped billing and marketing to its customers.

 The call center for PBI also closed in April 2005 at which time Sann started work to find an outside

 vendor to perform call center services. On May 16, 2005, the Court appointed Timothy D. Freeman

 as custodian (the “Custodian”) for the companies. On July 5, 2005, the Court granted the joint

 motion of the Custodian, Lucas, Landeen, PBI, and Lucas, for appointment of a successor custodian

 (the “Successor Custodian”). Sometime that same month, the Successor Custodian made the

 decision not to restart billing PBI’s customer base. On October 20, 2005, the Court granted an

 agreed motion by the Successor Custodian, the companies, Lucas, Landeen and Sann, to effectuate

 dissolution of the companies and to appoint the Successor Custodian as the Receiver.



                          B. THE ASSET PURCHASE AGREEMENT

        On August 22, 2005, while the Successor Custodian was responsible for PBI’s assets, PBI

 and VMS entered into an asset purchase agreement (“APA”). Successor Receiver Ex. 5 (“SR Ex.

 5”). Under the terms of the APA, VMS purchased the following relevant assets of PBI:

        1.      All of the customer records of the business.

                                                 ***


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        3.      Goodwill, and all of Seller’s rights, if any, to market voice mail services,
                and/or any products utilizing free grocery offers.

                                                 ***

        5.      All licenses and permits associated with the Business, to the extent assignable
                or transferable . . . .

                                                 ***

        7.      The customer accounts and all rights to bill that currently exist in BCI library
                codes 7C, IY and 61, excluding the BCI library codes 7C, IY and 61
                themselves and all revenue and/or income that is currently owed or accrued
                to date and owed to [PBI] by BCI for these customer accounts and/or library
                codes.

 Id. Ex. A.

        The APA also set forth the relative liabilities and obligations of VMS and PBI vis-a-vis the

 assets transferred. Id. ¶ 2. That section of the APA states, in relevant part:

                2.      Liabilities and Obligations Retained and Assumed. [PBI] shall remain
        responsible for each and every liability, obligation and undertaking of [PBI] relating
        to the operation of [PBI’s] business prior to the Closing Date, including but not
        limited to, any and all secured obligations, accounts payable, and current liabilities,
        with the exception of such liabilities as identified in sections 2(a) through 2(c) below.
        [PBI] shall retain any and all responsibilities and liabilities provided for in its
        Enhanced Services Billing and Information Management Services Agreement with
        BCI dated May 6 th, 2002, as amended (the “Phonebillit/BCI Agreement”). [VMS]
        shall assume any and all responsibilities and liabilities provided for in its Call Record
        Processing and Information Management Services Agreement with BCI, dated
        August 31, 2005.

                a.)     Subsequent to the Closing Date, [VMS] shall assume liability for and
        pay for any and all refunds and credits which may be required to be issued to
        customer records which are assigned pursuant to the terms of this Agreement, with
        the exception of any liabilities, including refunds and credits, associated with existing
        customer records which are assigned pursuant to the terms of this Agreement in
        Texas, Iowa and Kansas or the following three Local Exchange Carrier (“LEC”)
        regions/billing areas: Qwest, Verizon and Southerwestern Bell as [VMS] is not
        going to bill the aforementioned customer records as more fully set forth in
        Paragraph 2(c) below. [VMS] shall assume all liability for and obligation to provide


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         a customer call center to address customer and regulatory inquiries related in any way
         to the billing of voice mail services by SUBCIC 510 (Voice Mail Services) (or
         [VMS] and [PBI]) at any time in the past, present or future regardless of state or LEC
         region/billing area that call may originate from. . . .

                                                  ***

                 c.)     [VMS] shall not bill customer records which are assigned pursuant to
         the terms of this Agreement in the states of Texas, Iowa and Kansas or the following
         LEC regions/billing areas: Qwest, Verizon and Southwestern Bell, without the
         consent of [PBI], which shall not be unreasonably withheld. Except for the
         aforementioned limitations, nothing in this Agreement shall prohibit [VMS] from
         future marketing to any potential customer in any geographic area or LEC region.

                 d.)     Notwithstanding any of the provisions of paragraphs 2(a) through 2(c)
         above to the contrary and without regard to geographical location, should [VMS’s]
         billing or associated billing and/or marketing practices trigger:

                          i.)    a request to Seller for a refund and/or credit, or;

                          ii.)    a regulatory inquiry, regulatory matter, regulatory fine, or
                          regulatory lawsuit brought by a regulatory body,

         [VMS] shall assume all liability for and obligations to respond to said matters.

 Id. at ¶¶ 2a.) - 2d.).

         The Successor Receiver testified at the hearing in this matter that an important issue in

 negotiating and drafting of the APA was disposition of and protection of PBI’s money “in the

 pipeline” at Billing Concepts Inc. (“BCI” or “BIC” or “BSG”). According to the testimony of both

 the Successor Receiver and Sann at the hearing, BCI acts as a clearinghouse for PBI charges put on

 a customer’s telephone bill through a LEC. BCI retained in a PBI account of sorts a certain amount

 of money generated by receipts of revenues from PBI’s customers in order to make adjustments for

 uncollectible receivables. Successor Rec’r & Sann Hr. Testimony.




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                        C. REIMBURSEMENTS OWED PBI BY VMS

        In late August or early September 2005, Sann testified that VMS sent out an electronic mailer

 to the acquired database. The piece advertises: “New Face! New Features!” And, it states:

        We hope you have taken advantage of three months of voice mail services which
        have not been charged to you. This was a value to you of over $40.00! Effective
        next month the low monthly service fee of $14.95 will appear on the ESBI portion
        of your local exchange carrier bill.

        If for some reason you wish to discontinue this valuable service please dial our
        Customer Service Line at (800) 723-1224 or (866) 597-0928 and state your name and
        account number. We can also be reached via fax at (775) 582-1311. . . .

 SR Ex. 8. Sann testified that this email was sent to customers in both the restricted and the

 unrestricted areas. However, Sann stated that of the 26,166 emails sent, 10,833 were returned as

 undeliverable. Of the ones that were returned as undeliverable, VMS sorted them to remove

 customers in Kansas, Texas and Iowa, as well as customers serviced by Qwest, Verizon and

 Southwestern Bell. Then, VMS attempted to deliver the same notice via United States Postal

 Service to those remaining, approximately 3,500 customers.

        According to Sann, after the effective date of the APA, the customer base acquired by VMS

 from PBI was consolidated and transferred to VMS’s billing codes at BCI. However, also after the

 effective date of the APA, it is undisputed that the adjustments to PBI’s account at BCI saw a sharp

 increase. Landeen, Lucas and Sann could not agree on how those adjustments should be applied

 between PBI and VMS under the APA; therefore, the Receiver, with the unanimous consent of

 Landeen, Lucas and Sann, retained Brian Jones (“Jones”) of iDataworx to perform an analysis of

 PBI’s billing records to determine which company should be responsible for the adjustments to PBI’s

 account.



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        Jones performed what the parties have called a “buckets” analysis by grouped charges into

 a “PBI bucket,” a “VMS bucket,” or in two “other buckets.” Charges in the “other buckets” could

 be assigned to either PBI or VMS, and would have to be negotiated between the parties. On or about

 November 11, 2005, Jones provided an initial report of his “buckets” analysis. Sann Ex. 3. Jones

 provided an updated report dated March 7, 2006, which apparently accounted for adjustments issued

 by BCI during the period between April 2005 and February 28, 2006. Sann Ex. 6. According to the

 March 2006 report, the “VMS bucket” contained adjustments and credits in the amount of

 $25,697.15.

        Between March 7, 2006, and June 20, 2006, the Receiver decided to reject Jones’ analysis

 because it “did not capture all of the fees and charges associated with VMS’s billing and marketing

 activities.” SR Ex. 20, at 2. The Receiver explained to Sann that “[a] more accurate basis was to

 start with and rely upon the actual reported dollar amounts provided by BCI, which details by week

 and by month that charges that [PBI] was assessed, and of those the charges [t]hat should be

 reimbursed to [PBI] by VMS.” Id. Based on his own analysis of the BCI reports covering the

 months of August 2005 through March 2006, by letter to counsel dated June 20, 2006, the Receiver

 reported to Sann that VMS owed PBI the sum of $66,443.05 for those months, and that the Receiver

 was going to obtain additional information regarding subsequent months. Id.

        By letter dated August 3, 2006, Sann informed the Receiver of his objections to the

 Receiver’s calculations of the amount VMS owed to PBI under the APA. SR Ex. 3. In his letter,

 Sann contends that the Receiver should have used History Reports rather than Repayment Reports

 to accurately account for the amounts owed PBI by VMS. Id. In Sann’s formal objections to the

 Receiver’s Report in Partial Settlement, Sann challenged the Receiver’s calculations on the


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 following bases: 1) the Receiver had failed to respond to Sann’s requests for more information about

 the Receiver’s calculations; 2) the calculations were without a factual foundation; 3) the calculations

 did not employ and was inconsistent with the “bucket” analysis agreed upon by the shareholders; 4)

 the report relied upon by the Receiver “triple counted” the refunds and credits; 5) the Receiver had

 not made an independent analysis, rather he relied upon Landeen for his data; 6) the calculations

 were based un unauthenticated, inherently unreliable documents; and 7) the calculations were the

 product of a Custodian/Receiver and his law firm whose impartiality had been compromised. id. ¶¶

 8-10, 14; SR Ex. 4, ¶ 6.

        At the hearing, the Successor Receiver testified that after her appointment by the Court she

 began an analysis to address each of Sann’s challenges. She testified that she obtained accounting

 reports directly from BCI and, with the assistance of staff in her law firm, the Successor Receiver

 independently calculated the refunds and credits owed by VMS under the APA. In doing her

 analysis, the Successor Receiver consulted the BCI Accounting Manual, SR Ex. 7, and BCI Director

 of Customer Accounting, Jim Kraussman (“Kraussman”), to confirm the appropriate accounting

 records for this purpose and to evaluate those records.

        The Successor Receiver determined from inquiries directed to BCI and from her own review

 of BCI’s Accounting Manual that Sann’s assertion that the Receiver had triple counted credits and/or

 adjustments by using the Repayment Reports was not accurate. SR Ex. 7, at 23. In fact, the

 Successor Receiver confirmed with the BCI Accounting Manual and Kraussman that the Repayment

 Reports (Detail) were the best accounting source to determine the charges associated with PBI

 activity or VMS activity pursuant to the APA. The Accounting Manual states that these reports are

 “important because [they] show[] why you are (or are not) paid the funds noted in the Net Payable


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 Report” and are “excellent for understanding the charges and the reconciled revenue that make up

 the amount earned for the week.” Id.

        The Repayment Reports (Detail) for the period beginning with the closing date of the APA

 and ending with the point at which all the PBI at BCI were released to PBI are contained in

 Successor Receiver Exhibit 6. The Successor Receiver used the explanation of the codes explained

 in the Accounting Manual and by Kraussman to identify by processing date and type of credit those

 entries that were refunds and credits processed after the closing date of the APA. PBI had not

 marketed nor billed its customers since April 2005, therefore, the Successor Receiver stated at the

 hearing that she assumed that refunds and credits processed after VMS resumed marketing and

 billing should be attributed to VMS under the APA because those refunds and credits would have

 been triggered by VMS’s marketing activity. However, the Successor Receiver testified that she did

 not attribute all of those credits to VMS. Credits for “bad debt” were not attributed to VMS because

 the Successor Receiver could not reasonably assume that VMS’s marketing activity had triggered

 such a credit.

        The refunds and credits the Successor Receiver determined should be attributed to VMS

 under the APA are highlighted in the Repayment Reports (Detail), SR Ex. 9, and summarized in

 Successor Receiver Exhibits 10 and 11. Those refunds and credits fall into four categories: 1) LEC

 adjustments, rejects, and credits; 2) customer service credits; 3) client credits; 4) inquiry fees and

 other fees. The Successor Receiver reported that her analysis yielded a total of $102,695.90

 credits/refunds/adjustments due PBI from VMS under the APA, which was within $200.00 of the

 Receiver’s calculations.




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        With respect to the efficacy of the “bucket” analysis, the Successor Receiver testified that she

 concluded that it was not helpful because it had never been completed, it did not cover a substantial

 period of time at issue, it contained no clear explanation of the sources of the numbers it contained,

 it included unresolved credits/adjustments/refunds, and it was not clear that it accurately

 implemented the provisions of the APA. Sann admitted at the hearing that the “bucket” analysis was

 never completed and that it contained open issues with respect to a certain number of

 credits/adjustments/refunds.

        At the hearing, Sann contended that the “bucket” analysis is the only way to accurately

 determine the proper liability of PBI and VMS for the credits and adjustments from BCI. He

 claimed that by using the accounting reports found in Sann Exhibit 10, the LEC Reject/Adjustment

 Summary by Return Code, one could determine the number of customer-initiated credits and refunds

 attributable to VMS. Sann claims that this report shows VMS’s responsibility for these credits to

 total $7,639.43. In addition, Sann contends that the BIC Short Term Dilution Report is another

 source for additional customer credits and/or refunds, which Sann claims VMS’s portion is

 $22,589.00. According to Sann, this means that VMS owes PBI a total of $30,228.43.

        Sann testified that under his interpretation of the APA the only items VMS was responsible

 for were customer-initiated refunds.       Therefore, unless the “reason code” in BCI’s LEC

 Reject/Adjustment Summary by Return Code indicated that the adjustment was customer initiated,

 PBI was responsible for that adjustment. However, Sann conceded at the hearing that the reason

 codes were not entirely reliable. Moreover, Sann claimed at the hearing that the only items on any

 BCI report that VMS was responsible for were “refunds.”




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                                          D. WAGE CLAIM

          Sann also objected to the Receiver’s rejection of Sann’s wage claim for the period from June

 16, 2005, to January 25, 2006. Background information on payment of wages to the shareholders

 of PBI and to Sann is necessary to give context to Sann’s claim and the Receiver’s rejection of that

 claim.

          It is undisputed that no shareholder had received any compensation, W-2 or otherwise, from

 PBI starting in mid-2004, until certain agreement reached by the parties in this lawsuit under the

 guidance of Magistrate Judge Lawrence. Through orders in December 2004, February 2, 2005, and

 February 22, 2005, PBI paid both Sann and Landeen W-2 wages; the final wage payment under these

 agreements were made on April 15, 2005. It is undisputed that payments under these orders were

 the first instance in which Sann received W-2 wages from PBI.

          It is undisputed that in June 2005 Sann filed a wage claim with the Department of Labor for

 the State of Montana (“first wage claim”). In that proceeding, Sann asserted, under oath, that PBI

 owed him salary from the period from April 15, 2005, through June 15, 2005, at an agreed rate of

 $15,000.00 per month. There is no documentation in the Custodian’s reports to suggest that Sann

 was an employee of PBI during that time period.

          PBI’s response to Sann’s first wage claim was due to be filed with the State of Montana on

 July 5, 2005. The Successor Custodian/Receiver had been appointed by this Court on that date.

 Apparently, the Successor Custodian/Receiver decided to settle Sann’s first wage claim. In an email

 dated July 13, 2005, the Successor Custodian/Receiver indicated to Sann and his then-counsel that

          by settling this wage claim, as the Successor Custodian, [the Successor
          Custodian/Receiver is] not taking a position as to what additional monies may or may
          not be due to [Sann] for his continued efforts on behalf of [PBI], but will review that


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         with you at a later date. Since the Agreed Order appointing a Successor Custodian
         was entered, [the Successor Custodian/Receiver’s] approach will be to review his
         contributions on a quantum meruit basis, not on the basis of being a salaried officer
         with full authority and responsibility.

 Sann Ex. 2.

         Subsequently, by letter dated September 20, 2005, the Receiver explained his decision to

 settle that claim:

                 It is [the Successor Custodian/Receiver’s] understanding that Mr. Sann was
         serving as President and Chief Technical Officer of the companies when the existing
         Call Center operations were abruptly terminated in April of 2005. At that time it was
         uncertain as to the future of [PBI’s] operations. Mr. Sann immediately began
         exploring potential alternatives to handle the call center activities of [PBI], whose
         primary purpose is to minimize the number and amount of customer complaints and
         refunds. In the absence of [PBI’s] call center, BCI received these calls and the
         credit/refund rates immediately went from approximately 25% to close to 100% , at
         the time period when [PBI] was experiencing heavy call volumes from the significant
         marketing that was performed in the early part of the year.

                 In less than six weeks, Mr. Sann proceeded to negotiate and finalize the
         details[] for a contract with Excel to provide a replacement call center operation.
         Once this contract was in place, Mr. Sann also traveled to Excel’s place of business
         and worked with Excel to train their call center staff. In addition, during the time
         period covered by the wage claim: April 15, 2005[,] through June 15, 2005, Mr.
         Sann continued to serve in his capacity as Director of Operations, working on behalf
         of the Company and its then Custodian to ensure that the CRM, voice mail and
         billings systems[,] to name some of the activities he performed, were functioning and
         updated as necessary, and worked toward a long-term solution for the handling of
         regulatory matters and complaints.

                 As Director of Operations, Mr. Sann spent much effort in reducing the
         number of credits which were being given back to inquiring customers from over
         sixty percent (60%) (BCI would give credit to one hundred percent (100%) of the
         customers who would ask them!) down to approximately twenty percent (20%) of
         inquiries.

                 In essence, he kept the “operations afloat,” worked to actively manage the
         credit/refund issues and did what was necessary in order to have ongoing operations
         be a viable alternative.



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               As you know, [the Successor Custodian/Receiver] made this strategic
        decision for [PBI] to not rebill the customer base shortly after being appointed
        Successor Custodian in early July, 2005. It is [the Successor Custodian/Receiver]
        understanding that this option was still contemplated by [the Custodian] as late as
        June, 2005, and that throughout the time-period in question, Mr. Sann also worked
        on behalf of [PBI] to explore and negotiate new marketing contracts with its
        marketing partner CPA Markets, LLC.

                 . . . [O]n July 5, 2005[,] . . . [f]aced with what [the Receiver] believe[d] was
        a likelihood that Mr. Sann could successfully sustain his wage claim, the threat that
        a 110% penalty, payable to Mr. Sann[,] would be imposed under Montana law, and
        a calculation of legal costs to challenge the claim, [the Successor
        Custodian/Receiver] obtained a one-week extension. After a review of the facts,
        including payroll record that showed a wage payment history up until April 15, 2005,
        [the Successor Custodian/Receiver] agreed to pay for the two (2) months in question.

 Sann Ex. 57, at 1-2.

        By letter dated August 2, 2006, Sann’s counsel informed the Receiver that PBI owed Sann

 $107,250.00 in wages for the period between June 16, 2005, and January 25, 2006. SR Ex. 19. The

 letter explained:

                 . . . Mr. Sann discussed and negotiated his responsibilities for [PBI] with Mr.
        Freeman. While Landeen resigned her employment from [PBI] on March 31, 2005,
        Mr. Sann continued as an employee. Even after Landeen resigned her employment,
        she continued to submit exorbitant expenses to PBI on behalf of ABC. Mr. Sann
        objected to any payments to ABC until he was provided with copies of the invoices.
        However, payments were made over his objection and contrary to his understanding
        with the Receiver. Furthermore, Mr. Sann worked to maximize shareholder value
        after the [APA] was signed by working with BIC to reduce reductions from the [PBI]
        pipeline. While Mr. Sann is prepared to file another wage claim with the Montana
        Department of Labor & Industry, he would like to work with the Receiver to reach
        an amicable resolution to these matters.

 Id.

        At the hearing, Sann testified that the services outlined in the Receiver’s letter dated

 September 20, 2005, to support the Receiver’s decision to settle Sann’s first wage claim, continued

 beyond June 15, 2005, and through the Closing Date of the APA, September 9, 2005. Sann claims


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 that his services continued to keep PBI’s operations afloat because he supervised and managed PBI’s

 call center in San Antonio, Texas, and maintained the CRM and voicemail systems until the sale of

 the database. There is no documentation to support Sann’s claims that the work he performed for

 PBI was discussed with or approved by the Receiver.

        In addition, Sann contended at the hearing that, with the Receiver’s approval, he implemented

 a five-step plan to negotiate with BCI a lower amount in true-up expenses BCI intended to impose

 on PBI’s pipeline revenues. Sann claims that he traveled to San Antonio, Texas, to meet with BCI

 representatives on this issue and to solicit Jones’ help to resolve the matter. By email dated

 November 30, 2005, Sann expressed concern to the Receiver about BCI’s true-up charges to PBI’s

 account and recommended to the Receiver a five-step plan of action. Sann Ex. 3. In the same email,

 Sann requested permission from the Receiver to pursue the issue. Id. There is no evidence that the

 Receiver ever agreed to Sann’s suggestion, but Sann testified that he pursued his inquiries with BCI

 anyway. Later, Sann stated, it was agreed to not pursue any true-up issues with BCI because it might

 backfire and cause more harm to PBI than good.

        Sann testified that he also performed the services included in his job description for PBI’s

 Director of Operations for the time period in question. SR Ex. 15, Ex. 2.

        At the hearing, Sann clarified that the amount of wages to which he believes he is entitled

 for his services to PBI include $30,000.00 in wages for work he performed between June 15, 2005,

 and September 9, 2005, or $15,000.00 per month as PBI’s Director of Operations, and $125.00 per

 hour for approximately 100 hours of services provided to PBI after September 9, 2005. He claimed

 that this is reasonable in light of compensation paid to Landeen at a similar hourly rate for services

 she performed on behalf of PBI during the same time period. See Sann Exs. 55-57. At the hearing,


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 the parties stipulated that Landeen was paid for services provided to PBI after further documentation

 of the work performed was provided to the Receiver.



                           E. SANN EXPENSE REIMBURSEMENTS

        Sann also objected to the Receiver’s rejection of Sann’s claims for expense reimbursements.

 These expenses included charges for rent, travel expenses, office expenses and payments for work

 performed by Sann’s son, Nathan Sann. Sann admitted during the hearing that in 2005 the

 Custodian, Successor Custodian, and/or Receiver told Sann to submit claims for reimbursement.



                                               1. Rent

        Sann admitted at the hearing that the first time he submitted any kind of invoice to PBI for

 rent was by letter dated August 2, 2006, to the Receiver. In that letter Sann claimed that PBI owed

 him rent for twenty-two months at $500.00 per month for the period from May 2002 through January

 2006. SR Ex. 19 & id. Ex. A. The attached invoice was from Ravalli Rentals, a company owned

 by Sann, and dated August 2, 2006. Id. Ex. A. Also attached is an email from Landeen dated

 September 20022 in which Landeen states that “[i]f [Sann] is charging [PBI] $500.00 per month for

 rent, we should get invoices for that.” Id. Ex. B. A PBI Vendor QuickReport with the date April

 18, 2002, indicates a payment to Ravelli Rod & Gun Club, also a Sann entity, for “Rental” in the

 amount of $1,000.00. Id. Ex. C. Sann testified at the hearing that he and Landeen had agreed that



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         Sann testified at the hearing that he believed this email was written in September 2003
 because of the other issues discussed in the email and his recollection that the parties had
 discovered through deposition testimony about other documents that in the September 2003 time
 frame, Landeen’s computer had the wrong date.

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 PBI would pay him $500.00 per month in rent for Sann’s use on PBI’s behalf of a room in his house.

 However, during cross examination at the hearing, Sann admitted that he ran at least two other

 businesses out of his home.

        In his responses to the Successor Receiver’s discovery requests, Sann changed his claim for

 rent due him. Sann Ex. 54, at 7. Specifically, in his discovery response Sann claimed that he was

 due $500.00 per month for the period beginning May 2002 through April 2005. Id. However, at the

 hearing Sann changed his claim again and testified that he only expected to receive rent payments

 from the date Landeen started receiving rent, June 2003, through April 2005. In addition, Sann

 provided an email from PBI’s bookkeeper, Vicky Savage (“Savage”), dated April 2, 2004, to support

 his change of the date. Sann Ex. 47. The email states:

        The office was rented in June of 2003. That will be 11 months including April 2004
        at $500.00 at [sic] month will be $5,500.00. You have been paid for one of those
        months at $500.00. That will bring your total to $5,000.00.

        Please make sure you have approval from Neil for the payment of rent to you.

        Please forward all other expenses you want to be reimbursed as soon as possible so
        Neil can approve them and we can get you paid.

 Id.

        There is no contemporaneous documents or invoices from Sann to PBI for rent other than the

 above-referenced documents.



                                       2. Travel Expenses

        Sann also claimed by letter dated August 2, 2006, that PBI owed him travel expenses in the

 amount of $6,041.86. SR Ex. 19. Specifically, Sann submitted a single “Travel Expense Report”



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 for a June 2002 trip to Texas, a July 2002 trip to Montana, a December 2002 trip to Iowa, a

 December 2002 trip to Nevada, and a December 2002 trip to Montana. Id. Ex. D. There are no

 receipts attached to the expense report, there are no explanations for the purposes of the trips, and

 the mileage reimbursement amounts were calculated at $0.41 per mile. Id. Sann testified at the

 hearing that he was willing to remove the two trips to Montana because he has a residence there.

        During cross examination at the hearing, Sann admitted that a bookkeeper put the expense

 reports together in 2006. He also testified that until the Successor Receiver asked for receipts to

 substantiate these expenses in October 2007, no one had made such requests of him before. Sann

 stated that he had receipts to corroborate those expenses, but he never produced them, and when he

 tried to admit them at the hearing, the Court sustained the Successor Receiver’s objection to their

 admission. Sann testified that he recreated the amounts for purposes of the hearing after getting

 outside help to sort through all of his business paperwork.



                                         3. Office Expenses

        Also attached to the August 2, 2006, letter from Sann’s counsel was a claim for office

 expenses in the amount of $5,341.27. SR Ex. 19. Sann supported this claim with a Ravalli Rod &

 Gun Vendor QuickReport run on July 18, 2006, for the billing period from November 2001 through

 January 2005.

        At the hearing, Sann claimed that he had more recently had another accounting company

 review his books for Ravalli Rod & Gun and that the new estimate for the amount PBI owed Sann

 was over double that amount. However, Sann had instructed his lawyer not to change the amount

 of his expense claim.


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        When questioned about the charges in the Ravalli Rod & Gun report, Sann admitted that the

 only ones that reference PBI are located on page 2, are dated April 11, 2002, and total $47.90. SR

 Ex. 19, Ex. E. Sann also admitted that he did not know how his bookkeeper decided to report the

 expenses of Sann’s various business ventures at one point stating that “how she earmarks those is

 completely random for me.” Sann stated that just because the items in the report are not marked as

 PBI expenses, did not mean they were not incurred by PBI.



                                  4. Payments to Nathan Sann

        In the August 2, 2006, letter to the Receiver, Sann also requested that PBI reimburse him for

 payments in the amount of $6,952.78, that Sann made to his son, Nathan Sann (“Nathan”), for work

 Nathan performed on behalf of PBI. SR Ex. 19. To substantiate these expenses, Sann again

 provided a Ravalli Rod & Gun report for transactions apparently paid to Nathan for services that

 started in October 2002 and continued through October 2005. Id. Ex. F. The largest expenditure

 occurred in October 2005 and references Voice Mail Services Start Up, which Sann admitted at the

 hearing was most likely an expense for the start up of VMS, not for any services rendered on behalf

 of PBI. There are several expenses that list PBI in Sann’s report, however, they do not total the

 $5,527.78 that Sann contends should be attributed to PBI. Moreover, all of the amounts were

 charged in 2002 and 2003. SR Ex. 19, Ex. F.



                             F. LOANS ATTRIBUTED TO SANN

        In his report, the Receiver attributed $75,000.00 in loans to Sann that the Receiver had

 decided, for tax purposes, should be written off PBI’s books as compensation. The Receiver


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 similarly treated loans to Landeen. In doings so, and in revising its earlier tax returns, PBI received

 a substantial tax refund. Sann objected to the Receiver’s allocation of at least $35,000.00 of the

 loans to him.

        There is no dispute that Sann received a $35,000.00 loan from PBI to facilitate the purchase

 of real estate. In addition, Sann does not dispute that he received, as loans, additional smaller

 amounts from PBI on an emergency basis. Sann claims that he is willing to admit that these

 additional smaller amounts totaled approximately $5,000.00. Sann only contests the treatment of

 the remaining $35,000.00, which he claims is not a loan, rather the amount was due to him for

 services rendered to PBI.

        The QuickBooks accounting record for PBI, maintained by Savage, and apparently reconciled

 by an accountant hired by the Receiver in early 2006, listed receivables due PBI from Landeen, under

 the heading “Due from VP,” in the amount of $75,360.00, and receivables due PBI from Sann, under

 the heading “Due from Officer,” in the amount of $70,000.00 SR Ex. 12, at 3. Other than the

 amounts Sann agrees he owed PBI, the receivables under Sann’s column included four separate

 checks, all written on February 17, 2003, that total $35,000.00 payable to Ravalli Rod & Gun Club.

 Id.

        PBI’s 2004 tax return, which was prepared and submitted to the Internal Revenue Service

 before March 15, 20005, see SR Ex. 13, at 1, disclosed all the aforementioned receivables as loans

 to shareholders. Id., Tax Return, Sched. L, Line 7. PBI’s 2003 tax return did not account for any

 of Sann’s receivables as shareholder loans. Sann Ex. 45, at Sched. L, line 7. Sann testified at the

 hearing that the 2003 tax return was incomplete because it did not include any of the loans PBI made

 to Sann in 2003. Sann testified at the hearing that he did not review PBI’s tax returns.


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        Sann claims that the four checks totaling $35,000.00 were not a loan, rather they were

 payment to he and his wife for running a third-party call center on PBI’s behalf. Sann stated that the

 email Landeen sent to him in September 2003, which was erroneously dated September 2002,

 corroborates that this amount was paid to him as compensation, not as a loan. Sann Ex. 40 (stating

 that Sann should have received more in compensation than Landeen in 2003, somewhere in the

 neighborhood of $35,000.00, because Sann and his wife had handled customer service for PBI’s

 customer Assail).

        Sann contends that the Receiver erroneously treated the $35,000.00 as a loan, converted it

 to compensation in 2006, then made a distribution to shareholders, but only credited Sann for

 $40,658.00 in accrued salary, rather than make a payment to him according to his share amount.



                                          II. DISCUSSION

        Generally, the Court makes the following conclusions:

        This Court has jurisdiction over the parties and over the subject matter of this proceeding

 pursuant to 28 U.S.C. § 1332. The Receiver and the Successor Receiver have made reports to the

 Court with respect to the winding-up of PBI’s affairs, consistent with the Court’s appointment.

 Indiana Code § 32-30-5-18(b) provides: “Any objections or exceptions to the matters and things

 contained in an account or report and to the receiver’s acts reported in the report or account that are

 not filed within the thirty (30) day period referred to in section 17 of this chapter are forever barred

 for all purposes.” See also Ratcliff v. Citizens Bank of W. Ind., 768 N.E.2d 964 (Ind. Ct. App. 2004).

 Pursuant to this statute and the case law interpreting it, only the objections made by Sann in the

 documents found at Docket Numbers 292 and 303 are timely.


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        The Court makes the following specific findings with respect to Sann’s timely-made

 objections:



                        A. REIMBURSEMENTS OWED PBI BY VMS

        The Court must overrule Sann’s objections to the Receiver’s and the Successor Receiver’s

 calculations of the amount owed PBI by VMS. The basis for Sann’s alternative calculation of the

 amount VMS owes PBI is too narrow. Sann’s method, although detailed, could not account for

 charges assessed to PBI that occurred after the Closing Date of the APA for which it was unclear

 why the assessment had been made. This is the same flaw of the “bucket” analysis: the third bucket

 required a reconciliation by the parties of the proper allocation of each charge in that bucket. The

 Court agrees with the Successor Receiver’s opinion that this method was unworkable given the

 inability of the shareholders to cooperate in winding up the affairs of PBI. Therefore, the Court

 concludes that the Receiver’s and the Successor Receiver’s assumption that the bulk of the

 adjustments, other than the true-up amounts, that occurred in late 2005 and into 2006 were

 attributable to VMS’s marketing activities is reasonable.

        There is no dispute that PBI stopped billing in late April 2005 and that the Successor

 Custodian/Receiver decided in or around July 2005 to not restart billing. It is also undisputed that

 VMS sent out a marketing mailer to PBI’s customer base in August 2005 and that the credits and

 refunds charged to PBI’s account rose significantly after the mailer. The temporal connection

 between the mailer and the increase in activity on PBI’s BCI account is clear. Moreover, at the

 hearing, other than an irrelevant explanation of the timing of true-up adjustments, Sann had no

 plausible alternative explanation for why credits and refunds charged to PBI’s BCI account rose


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 significantly after the VMS mailer was sent out. Pursuant to paragraphs 2a) and d) of the APA,

 VMS is responsible for all credits and refunds charged to PBI’s BCI account that were triggered by

 VMS’s marketing activity. As already stated, the Receiver’s and the Successor Receiver’s

 assumption in this regard is reasonable.

        The Court concludes that, under the terms of the APA, and on the evidence presented to this

 Court, VMS and Sann, jointly and severally, owe PBI $102,695.90. Sann’s objection to the

 Receiver’s report on this issue is OVERRULED.



                                        B. WAGE CLAIM

        The Court concludes that Sann’s objection to the Receiver’s and the Successor Receiver’s

 rejection of Sann’s claim for salaried wages for the period June 15, 2005, through September 9,

 2005, and his claim for quantum meruit wages for 100 hours of work performed on behalf of PBI

 after September 9, 2005, must be overruled.

        The only documentary evidence Sann pointed to that showed he had performed work on

 behalf of PBI after June 15, 2005, is the August 6, 2006, letter and an email communication from

 Sann to the Receiver regarding the true-up question. Neither piece of evidence persuades the Court

 that Sann performed the work he claimed, nor that the Receiver and Successor Receiver are not

 justified in denying Sann his claims. First, the August 6, 2006, letter relies on old information.

 While it is true that the Receiver acknowledged that Sann had performed work on behalf of PBI until

 June 15, 2005, the Receiver’s email dated July 13, 2005, and his letter dated September 20, 2005,

 make clear that, going forward, the Receiver did not consider Sann an employee of PBI and that any

 compensation owed Sann would be decided upon by the Reciever on a quantum meruit basis. Sann


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 Exs. 2 & 57. Nothing in the Receiver’s letter could be construed as an offer for Sann to continue

 work on behalf of PBI in the future.

        In addition, Sann’s email November 30, 2005, to the Receiver regarding the true-up question

 is not confirmation that the Receiver accepted Sann’s offer to help look into the issue and resolve

 it for PBI. Sann Ex. 3. The email merely recommends to the Receiver the course of action to take

 regarding the issue and asks for the Receiver’s permission to follow up. There is no evidence in the

 record that the Receiver ever accepted Sann’s offer or that Sann invoiced the receiver for his time

 or expenses in relation to that issue.

        Furthermore, there is no documentary evidence to support Sann’s assertion that he performed

 100 hours of work on behalf of PBI. The evidence he presented that the Receiver paid for work

 Landeen and her company ABC performed on behalf of PBI shows a detailed summary of the work

 performed and the actual hours spent doing that work for each period for which the Receiver

 received an invoice. Sann Exs. 55 & 56. The parties stipulated to the fact that Landeen was paid

 wages and/or expenses upon providing further explanatory documentation to the Receiver. There

 is no such documentation for work performed by Sann. In fact, there are no invoices from Sann to

 the Receiver that would allow the Receiver to account for any money the Receiver might pay from

 PBI’s accounts to Sann for such work.

        The Court concludes that Sann’s evidence is simply not probative of the issue before the

 Court, which is the reasonableness of the Receiver’s and the Successor Receiver’s decisions to deny

 Sann’s claim for salaried and quantum meruit wages for work allegedly performed by Sann on behalf

 of PBI after June 15, 2005.         Sann’s objection to the Receiver’s report on this issue is

 OVERRULED.


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                                C. EXPENSE REIMBURSEMENTS

          Having considered all the evidence on Sann’s claims for expense reimbursements, the Court

 concludes that his objections must be overruled as to each claim for expenses. Sann’s evidence is

 either too late or not probative of the amounts duly owed him.

          Although Sann apparently made some requests of the original Custodian for payment of

 certain expenses, there is little contemporaneous documentary evidence that supported those

 requests. Sann’s attempt to correct this documentary deficiency in August 2006, and again within

 days of the continuation of the hearing on his objections, with summary expense reports prepared

 by a third party, and QuickBook reports from multiple years generated in July 2006 is insufficient

 to establish that Sann had legitimate expenses on behalf of PBI in the years prior to the Receiver’s

 responsibility for PBI’s affairs. Sann stated at the hearing that neither the Custodian nor the Receiver

 nor the Successor Receiver ever asked for the details of his expenses until October 2007. However,

 the Court cannot accept this excuse for Sann’s failure to timely file his expense claims against PBI’s

 books.

          Specifically, when Sann made his first claim to the Receiver for past due rent in August 2006,

 Sann asserted that PBI owed him rent dating back to 2002. At the hearing, Sann contended that he

 was owed rent starting in the summer of 2003. Sann offered an email from Landeen to corroborate

 his entitlement to rent, but that email merely stated: “If [Sann] is charging [PBI] $500.00 per month

 for rent, [PBI] should get invoices for that.” SR Ex. 19, Ex. B. Sann provided no evidence save his

 Vendor QuickReport for April 18, 2002, which showed a payment he made from PBI’s account to

 his company Ravalli Rod & Gun Club for rent, that Sann ever invoiced PBI for rent. The testimony

 he gave at the hearing about PBI’s payment of rent to Landeen does not help his cause because the


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 record evidence is that Landeen invoiced PBI for those amounts and ran PBI’s call center from the

 facility.

         Similarly, Sann’s claims for travel expenses in August 2006 dated back to 2002 and 2003.

 There is no supporting documentation and the amount used to calculate mileage is clearly wrong

 because it used the reimbursement rate for 2006 rather than that applicable for the date upon which

 Sann claims he traveled on behalf of PBI. The timing of Sann’s claim alone begs the question of

 whether the expense reports are accurate. Without corroborating receipts, how can anyone remember

 the exact charges expended in 2002 or 2003 in 2006? Sann claimed at the hearing that someone else

 put the expenses together and that no one ever told him that he needed the supporting receipts to get

 paid. But Sann is the party making the claim for reimbursement, so it is his responsibility to ensure

 that he has proper documentation to support his claims. In addition, it is standard practice for any

 entity, business or government, to require receipts and reasons to support travel expense

 reimbursement; there must be receipts for the expenses claimed to get paid.

         Likewise, the claims Sann made in August 2006 for office expenses and amounts paid to

 Nathan Sann date back to work performed or expenses incurred in 2002 and 2003. There is no

 contemporaneous invoice to PBI for such work or expenses. Even for a loosely-run corporation like

 PBI, such lackadaisical practice is simply inexplicable. Moreover, Sann’s claim that expenses that

 do not reference PBI are actually PBI’s expenses, without supporting receipts or invoices, is simply

 not enough for the Receiver or Successor Receiver to conclude that those expenses were truly those

 of PBI and not those of one of Sann’s other entities.




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        Under the circumstances and for the reasons stated herein, the Court concludes that the

 Receiver and Successor Receiver were justified in denying Sann’s claims for un-reimbursed

 expenses in their entirety. Sann’s objections to the Receiver’s report on this basis is OVERRULED.



                                              D. LOANS

        The Court concludes that Sann’s objection to the Receiver’s and Successor Receiver’s

 treatment of the loans on PBI’s books must be overruled. Although the Court cannot disagree with

 Sann that it appears that the accounting ledger for PBI inaccurately reflected that the $35,000.00 paid

 in four installments to Sann on February 17, 2003, was a loan rather than compensation, the Court

 is at a loss for what Sann expected the Receiver or Successor Receiver to do about that error. There

 is no evidence that the Receiver or Successor Receiver expected Sann to repay PBI the money. In

 addition, there is no evidence that the PBI books accounted for the $35,000.00 as compensation at

 another time or in another entry such that Sann somehow had to pay PBI back money due him as

 compensation. In fact, the record evidence is that Sann was paid the money, it got recorded on PBI’s

 books as a loan, which was eventually converted to compensation, which is what Sann claims it

 should have been in the first place, and PBI benefitted from the conversion.

        To the extent that Sann seems to claim that Landeen caused the error in bookkeeping, the

 Court is at a loss for how the Receiver or Successor Receiver can be held responsible for that error.

        For these reasons, the Court OVERRULES Sann’s objection to the Receiver’s and Successor

 Receiver’s treatment of $35,000.00 shown on PBI’s books as a loan to Sann.




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                                       III. CONCLUSION

        For the foregoing reasons, all of respondent/intervenor/counterclaim plaintiff’s, Steven V.

 Sann, Objections (Docket Nos. 292 & 303) to the Receiver’s Report in Partial Settlement of

 Receivership Proceedings Pursuant to Indiana Code Chapter 32-30-5-14 (Docket No. 279), are

 OVERRULED.         Respondent, PhoneBILLit, Inc., is entitled to judgment in the amount of

 $102,695.90, against Voice Mail Services, Ltd. and/or VMS Ltd., and Steven V. Sann, jointly and

 severally. All further claims for relief by respondent/intervenor/counterclaim plaintiff, Steven V.

 Sann, against respondent, PhoneBILLit, Inc., are hereby barred by Indiana Code § 32-30-5-18(b).

        The Successor Receiver’s Motion to Exclude Evidence at Hearing (Docket No. 340) is

 GRANTED in part and DENIED in part for the reasons stated on the record for the Hearing on

 November 27, 2007.

        IT IS SO ORDERED this 6th day of December, 2007.



                                                     _________________________________
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                                                     LARRY
                                                  LARRY        J. McKINNEY,
                                                           J. McKINNEY,           CHIEF
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 Distribution attached.



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